Case 3:51-cv-01247-JO-SBC Document 1-3 Filed 01/25/51

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MARGARITA

Qal - Alluvium

— Known Contacts

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* een 4
RESERVATION

LEGEND

®,- Perennial spring

o& ~ intermittent spring

Qr - Residuum
© - Camp supply, domestic and/or
irrigation well
be - Basement complex © - Testor unused well

— oe | me Of section

e - Rising waters

~-""™ Approximate Contacts

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Office of Ground Water Resources

Marine Cc

Camp Pendleton, California

erps Base

Drawn by: JM Olsen

Scale 1:24,000

Checked by: J.L. Groff, G.E.W.

Date: 8 Nov.'57

Approved by: A.C. Bowen

Org. No. GD-2

EXHIBIT A

INTERLOCUTORY JUDGMENT #32 #7

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